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  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF COLORADO
  Civil Action No. 20-cv-00694-PAB-SKC

  MOSTAFA KAMEL MOSTAFA,

  Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her individual capacity,
  LOEWE, ADX officer, in his individual capacity,
  NORJANO, ADX Officer, in his individual capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity,

  Defendants.

                                          Proposed Order

          IN CONSIDERATION of Plaintiff's Pro Se Motion to Supplement the Record [Doc. 244]

  for the Defendants' Motion for Partial Summary Judgment [Doc. 234], and Attorney Paul Wolf's

  Response in Opposition and Supplemental Statement of Facts, and Exhibits thereto, and all

  Responses, Oppositions and Replies thereto, and Exhibits Thereto, it is hereby:

          ORDERED that the Plauntiff's Motion is GRANTED. The Court will consider the

  supplemental material as argued by his attorney Paul Wolf; and it is hereby




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         ORDERED that the Defendants shall have seven (7) days to Reply to Plaintiff's

  Opposition to Defendants' Motion to Strike, and may have up to 14 pages to address the

  substantive issues raised by Plaintiff and his counsel.

  Done this ___________ day of _______________, 2023.




                                        __________________________
                                        Philip A. Brimmer
                                        U.S. District Judge




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